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 FIRST HAWAIIAN BANK1

                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

     KANDICE L.K. KAGAWA,                   CIVIL NO. CV 11-00075 SOM KSC

                      Plaintiff,
          vs.                               STIPULATION FOR DISMISSAL
                                            WITH PREJUDICE OF ALL CLAIMS
     FIRST HAWAIIAN                         AND ALL PARTIES AND ORDER
     BANK/BANCWEST
     CORPORATION, as a domestic profit
     corporation; VIVIAN ADAMS, in her
     official capacity as Senior Vice
     President, Human Resources Division,
     for FIRST HAWAIIAN BANK.;
     BARBARA NITTA, in her official
     capacity as Vice President, Human
     Resources Division, for FIRST          Trial Date: March 6, 2012
     HAWAIIAN BANK.; ELIZA
     YOUNG, in her official capacity as

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       Defendants Vivian Adams, Barbara Nitta and Eliza Young were dismissed
 from the instant matter by this Court’s May 4, 2011 Order Granting in Part and
 Denying in Part Defendants’ Motion to Dismiss [Doc 23].
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  Manager of the Credit Services Center,
  for FIRST HAWAIIAN BANK;
  JOHN DOES 1-10; JANE DOES 1-10;
  DOE CORPORATIONS 1-10; DOE
  PARTNERSHIPS 1-10; DOE
  UNINCORPORATED
  ORGANIZATIONS 1-10; and DOE
  GOVERNMENTAL AGENCIES 1-
  10,
                    Defendants.


                   STIPULATION FOR DISMISSAL WITH PREJUDICE
                   OF ALL CLAIMS AND ALL PARTIES AND ORDER

                   IT IS HEREBY STIPULATED by and between Plaintiff Kandice

 L.K. Kagawa and Defendant First Hawaiian Bank, through their respective

 counsel, that all claims that have been or could have been brought in this action be

 and hereby are dismissed with prejudice, each party to bear his/its own costs and

 attorneys’ fees.

                   This stipulation is based on Rule 41(a)(1)(A)(ii) of the Federal Rules

 of Civil Procedure and has been signed by all parties who have made an

 appearance in this action. There are no remaining claims or parties. Trial in this

 case is set for March 6, 2012.

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                   DATED:   Honolulu, Hawaii, August 18, 2011.

                                 STIPULATED AND AGREED TO BY:


                                  /s/ Elizabeth Jubin Fujiwara
                                 ELIZABETH JUBIN FUJIWARA
                                 JOSEPH T. ROSENBAUM

                                 Attorneys for Plaintiff
                                 KANDICE L.K. KAGAWA



                                 /s/ Sarah O. Wang
                                 SARAH O. WANG
                                 SEAN K. SANADA
                                 Attorneys for Defendant
                                 FIRST HAWAIIAN BANK



                   APPROVED AS TO FORM:

                   HONOLULU, HAWAII; AUGUST 23, 2011.



                                        /s/ Susan Oki Mollway
                                        Susan Oki Mollway
                                        Chief United States District Judge




 __________________________________________________________________
 Kandice L.K. Kagawa v.First Hawaiian Bank, CV11-00075 SOM-KSC;
 STIPULATION FOR DISMISSAL WITH PREJUDICE OF ALL CLAIMS AND
 ALL PARTIES AND ORDER


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